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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. LA CV 22-02344-MEMF-(GJSx) Date December 1, 2022

 

 

Title
Jane Doe v. Joseph Diaz Jr.

PRESENT: Honorable Maame Ewusi-Mensah Frimpong
United States District Judge

 

Kelly Davis Judy Moore

Courtroom Deputy Clerk Court Reporter

Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Rajan Dhungana Not Present

PROCEEDINGS: MOTION HEARING (Held and Completed)

Case called. No appearances are made by defendant Joseph Diaz, Jr.
The Court confers with plaintiffs counsel re: Plaintiff's Motion to Strike
Defendant's Amended Answer to Complaint [29], the Application for Entry of
Default against Defendant Joseph Diaz, Jr filed by Plaintiff Jane Doe [36], and
the Motion for Default Judgment against Defendant Joseph ‘JoJo’ Diaz, Jr. filed
by Plaintiff Jane Doe [37]. The Court takes the matter under submission. A
separate Court order shall issue.

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Initials of Deputy kd
Clerk

 

 

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